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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                6/30/21




   Odgers Berndston, LLC,

                           Plaintiff,                                  21-CV-5652 (AJN)

                  –v–                                                      ORDER

  Javier O’Neil, et al.,

                           Defendants.



ALISON J. NATHAN, District Judge:


       By July 2, 2021 at 12 p.m., the parties are ORDERED to confer and submit a joint letter

to the Court proposing a briefing schedule and a hearing date for Plaintiff’s motion for a

temporary restraining order and a preliminary injunction. If the parties cannot agree on a

schedule, they shall submit their respective proposals to the Court.

       Plaintiff is ORDERED to serve a copy of this order on counsel for the Defendants and to

file proof of service on the public docket.

       SO ORDERED.

 Dated: June 30, 2021
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
